                IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF KANSAS


DAVID W. THAYER and
STEVEN E. NEWSOME,

                      Plaintiffs,

vs.                                            Case No. 22-3086-SAC

HALEIGH BENNETT and
JEFF BROWN,

                      Defendants.

                              O R D E R

      This case is before the court upon plaintiff David Thayer’s

motion for an extension of time to file an amended complaint. Doc.

No. 8.   Upon review, the motion shall be granted and Mr. Thayer

will have time until August 5, 2022 to file an amended complaint.

The court makes the following cautionary note, however.

      Plaintiff refers to using the amended complaint to add claims

from Mr. Michael Chubb under Fed.R.Civ.P. 18 and Fed.R.Civ.P. 19.

Plaintiff does not state facts, though, that would support adding

Mr. Chubb’s claims to this case.        Rule    18   concerns   “a   party”

adding as many claims as it has against an opposing party.              It

does not speak to adding a new party.     Rule 19 concerns the joinder

of persons who must be joined as parties.            No grounds have been

described to consider Mr. Chubb an indispensable party under

Fed.R.Civ.P. 19(a).



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      In addition, the court does not believe Mr. Chubb should be

permitted to litigate his claims upon plaintiff’s in forma pauperis

application.        He should file a separate civil action and either

pay the filing fee or be granted leave to proceed without paying

the fee.      See Davidson v. Thompson, 2019 WL 1317465 *2 (D.Kan.

3/22/2019)(applying the approach to a prisoner case); see also

Davis v. Schmidt, 2021 WL 6102096 *3 (10th Cir. 12/23/2021)(parties

may plead and conduct “their own cases” personally or by counsel,

citing 28 U.S.C. § 1654); Fymbo v. State Farm Fire and Casualty

Co., 213 F.3d 1320, 1321 (10th Cir. 2000)(a pro se litigant may

not   bring    to    claims   of   others      to    court    without     counsel);

Litschewski     v.     Dooley,     2012       WL    3023249    *1   n.1     (D.S.D.

7/24/2012)(suggesting pro se litigant may not add family members

as co-plaintiffs).

      In summary, plaintiff’s motion for an extension of time to

file an amended complaint (Doc. No. 8) is granted.                         Time is

extended to August 5, 2022.           Plaintiff should be mindful of the

court’s statements as to adding another party as a plaintiff.

      IT IS SO ORDERED.

      Dated this 12th day of July 2022, at Topeka, Kansas.


                                 s/Sam A. Crow__________________________
                                 U.S. District Senior Judge




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